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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

BARBARA ELIZABETH LAWSON                 )
and JERRY LAWSON,                        )
Individually and on behalf of a class    )
of all persons similarly situated,       )
                                         )
         Plaintiffs,                     )
                                         )
v.                                       )    CASE NO. 4:06-cv-00042
                                         )
LIFE OF THE SOUTH INSURANCE              )
COMPANY, a corporation,                  )
                                         )
         Defendant.                      )



               BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO STRIKE
                OR DISMISS PLAINTIFF’S CLASS ACTION ALLEGATIONS
              OR, IN THE ALTERNATIVE, TO DENY CLASS CERTIFICATION




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         Defendant Life of the South Insurance Company (“Defendant” or “LOTS”), respectfully

submits this brief in support of Defendant’s Motion to Strike or Dismiss Plaintiff’s Class Action

Allegations (“Motion to Strike”) or, in the Alternative to Deny Class Certification (“Motion to

Deny Class Certification”).

                                        INTRODUCTION

         Class certification should be denied in this case based on two Middle District of Georgia

decisions denying class certification in virtually identical cases seeking refunds of unearned

insurance premiums. Bishop’s Prop. & Invs., LLC v. Protective Life Ins. Co., 255 F.R.D. 619

(M.D. Ga. 2009) (“Bishop”); Adams v. Monumental Gen. Cas. Co., 2009 WL 383625 (M.D. Ga.

2009) (“Adams”). The complaints in Bishop, Adams, and this civil action are substantively

identical.    Plaintiffs’ counsel in Bishop and Adams are Plaintiff’s counsel in this case.

Apparently recognizing the logic of the Court’s opinions, Plaintiffs’ counsel did not appeal the

district court’s denial of class certification in Bishop and Adams.

         This Brief establishes four points. First, a motion to strike or dismiss Plaintiff’s class

action allegations is an appropriate procedural vehicle for addressing the class action issues.

Second, Plaintiff’s class action allegations should be stricken based on this Court’s Bishop and

Adams decisions in substantively identical cases. Third, in the alternative to the Motion to

Strike, a motion to deny class certification is an appropriate procedural vehicle for determining

whether a civil action may be maintained as a class action. Fourth, there are additional reasons

that class certification should be denied beyond those reasons discussed in the Bishop and Adams

decisions, including recent controlling decisions reversing district courts that had certified class

actions. Sacred Heart Health Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601 F.3d

1159 (11th Cir. 2010) (“Sacred Heart”); Vega v. T-Mobile USA, Inc., 564 F.3d 1256 (11th Cir.

2009) (“Vega”); Wal-Mart Stores, Inc. v. Dukes, ___ U.S. ___, 131 S. Ct. 2541 (2011).


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                                                  ARGUMENT

I.       A MOTION TO STRIKE OR DISMISS PLAINTIFF’S CLASS ACTION
         ALLEGATIONS IS AN APPROPRIATE PROCEDURAL VEHICLE FOR
         ADDRESSING THE CLASS ACTION ISSUES.

         Rule 23(d)(1)(D), Fed. R. Civ. P., provides that, “[i]n conducting an action under this

rule, the court may issue orders that . . . require that the pleadings be amended to eliminate

allegations about representation of absent persons and that the action proceed accordingly.” Rule

23(c)(1)(A), Fed. R. Civ. P., provides that, “[a]t an early practicable time after a person sues . . .

as a class representative, the court must determine by order whether to certify the action as a

class action.”

         This Court has granted a defendant’s motion to strike plaintiffs’ class action allegations.

Lumpkin v. E.I. DuPont De Nemours & Co., 161 F.R.D. 480 (M.D. Ga. 1995) (“Lumpkin”). 1 In

the procedural context of defendant’s motion to strike, this Court recognized that the “‘plaintiff

bears the burden of advancing a prima facie showing that the class action requirements of [Rule

23] are satisfied or that discovery is likely to produce substantiation of the class allegations.’”

Id. at 481 (citation omitted). 2 This Court also explained that the United States Supreme Court

had ruled that, “‘[s]ometimes the issues are plain enough from the pleadings to determine

whether the interests of the absent parties are fairly encompassed within the named plaintiff’s

claim, and sometimes it may be necessary for the court to probe behind the pleadings before

coming to rest on the certification question.’” Id. (quoting Gen. Tele. Co. of Sw. v. Falcon, 457

1
  In Lumpkin, defendant filed its motion “prior to responding to the discovery served on it by Plaintiffs.” 161 F.R.D.
at 481. The defendant urged the court to deny class certification “based solely on Plaintiffs’ pleadings and discovery
responses and prior to providing any discovery responses itself.” Id.
2
  The Eleventh Circuit has repeatedly held that “a plaintiff still bears the burden of establishing every element of
Rule 23.” Vega, 564 F.3d at 1267; Busby v. JRHBW Realty, Inc., 513 F.3d 1314, 1322 (11th Cir. 2008); Valley
Drug Co. v. Geneva Pharma., Inc., 350 F.3d 1181, 1187 (11th Cir. 2003); Heaven v. Trust Co. Bank, 118 F.3d 735,
737 (11th Cir. 1997); Sikes v. Teleline, Inc., 281 F.3d 1350, 1359 (11th Cir. 2002), cert. denied, 537 U.S. 884
(2002), abrogated on different grounds by Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008) (“Sikes”);
Zeidman v. J. Ray McDermott & Co., Inc., 651 F.2d 1030, 1038 (5th Cir. Unit A July 27,1981).



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U.S. 147, 160 (1982)). In granting defendant’s motion to strike class action allegations, this

Court ruled that, “awaiting further discovery will only cause needless delay and expense. The

record fails to show any basis for further pursuit of a class action.” Id.

         The Eleventh Circuit recently reversed a district court’s certification of a class action

alleging breach of contract and unjust enrichment, concluded that “the complaint, as pled, cannot

sustain class action certification as a matter of law”, and remanded the case “with the instruction

that the plaintiff’s claims proceed individually.” Vega, 564 F.3d at 1260. The Eleventh Circuit

also explained that, “Rule 23 demands an early consideration of class certification, including its

practical implications for case manageability”. Id. at 1279 (citing Fed. R. Civ. P. 23(c)(1)(A)).

         The Sixth Circuit recently affirmed a district court order granting defendant’s motion to

strike plaintiff’s class action allegations. Pilgrim v. Universal Health Card, LLC, 660 F.3d 943

(6th Cir. 2011). The Sixth Circuit ruled that the district court’s order granting defendant’s

motion to strike was not “premature” in light of Rule 23(c)(1)(A) because “‘[e]ither plaintiff or

defendant may move for a determination of whether the action may be certified under Rule

23(c)(1).’” Id. at 949 (citations omitted). The Sixth Circuit also explained that, “we cannot see

how discovery or for that matter more time would have helped [plaintiffs]” because of the

“central defect in this class claim. . . [Plaintiffs’] claims are governed by different States’

laws . . . and no proffered or potential factual development offers any hope of altering that

conclusion, one that generally will preclude class certification.” Id. Of course, that same

“central defect” exists here.

         District courts within the Eleventh Circuit and around the country have routinely granted

defendants’ motions to strike plaintiffs’ class action allegations and rejected plaintiffs’

arguments that they should be permitted to conduct additional discovery. See, e.g., Dennis v.




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Whirlpool Corp., No. 06-80784, D.E. 38 at 4-5 (S.D. Fla. March 13, 2007) (“Dennis”) (granting

defendant’s motion to dismiss or strike plaintiff’s class allegations, explaining that a “court may

strike class allegations as soon as ‘practicable’” under Rule 23(c)(1)(A), and quoting this Court’s

Lumpkin decision for the proposition that “‘awaiting further discovery will only cause needless

delay and expense’”). 3

         Based on this case authority, Defendant’s Motion to Strike is an appropriate procedural

vehicle for addressing the class action issues in this case.

II.      THE MIDDLE DISTRICT OF GEORGIA HAS ALREADY DENIED CLASS
         CERTIFICATION IN TWO VIRTUALLY IDENTICAL CASES.

         The identical class certification issues in this case have already been decided twice by the

Middle District of Georgia and no amount of discovery will change that dispositive point. In

both Bishop and Adams, this Court reviewed virtually identical motions for class certification in

virtually identical class actions seeking refunds of unearned insurance premiums, filed by the

same Plaintiffs’ counsel as is in this case, and denied class certification in both cases. This Court



3
  The Dennis opinion is attached to Defendant’s Submission in Support of Its Motion to Strike or Dismiss Plaintiff’s
Class Action Allegations or, in the Alternative, to Deny Class Certification (“Submission”) as Exhibit 1. See also
Markey v. La. Citizens Fair Plan, No. 06-5473, 2008 WL 5427708, at *1, 2, 5 (E.D. La. Dec. 30, 2008) (granting
defendant’s motion to strike plaintiff’s class allegations, explaining that “courts have routinely applied Rule
23(d)(1)(D), or its predecessor Rule 23(d)(4), to motions to strike class allegations”, and ruling that plaintiffs “have
not shown how additional discovery would alleviate the need to undertake a case-by-case inquiry” as to each
member of the purported class); Thornton v. State Farm Mut. Auto Ins. Co., No. 1:06-cv-00018, 2006 WL 3359482,
at *1, 4-5 (N.D. Ohio Nov. 17, 2006) (granting defendant’s motion to strike plaintiff’s class allegations and rejecting
plaintiff’s position that “she should have more time to conduct discovery on issues related to class certification.”);
Bennett v. Nucor Corp., No. 3:04CV00291SWW, 2005 WL 1773948, at *2, n.1 (E.D. Ark. July 6, 2005) (granting
defendant’s motion to strike plaintiff’s class allegations, ruling that “[a] motion to strike class allegations is
governed by Rule 23, not Rule 12(f),” and finding that “further discovery regarding the class certification issue
would be futile.”); Hovsepian v. Apple, Inc., No. 08-5788-JF (PVT), 2009 WL 5069144, at *2, 6 (N.D. Cal. Dec.
17, 2009) (“[u]nder Rules 23(c)(1)(A) and 23(d)(1)(D) . . . this Court has authority to strike class allegations prior to
discovery if the complaint demonstrates that a class action cannot be maintained.”); In re Yasmin and Yaz
(Drospirenone) Mktg., 275 F.R.D. 270, 274 (S.D. Ill. 2011) (granting defendant’s motion to strike or dismiss
plaintiff’s class allegations, rejecting plaintiff’s argument that defendant’s motion was “premature”, and explaining
that “no amount of time or discovery can cure the[] deficiencies” in plaintiff’s class allegations); Aguilar v. Allstate
Fire and Cas. Ins. Co., No. 06-4660, 2007 WL 734809, at *3 (E.D. La. March 6, 2007); Rikos v. Proctor & Gamble
Co., No. 1:11-cv-226, 2012 WL 641946, at *7 (S.D. Ohio Feb. 28, 2012); Williams v. Chesapeake La., Inc., No. 10-
1906, 2011 WL 1868750, at *1, 3-4 (W.D. La. May 13, 2011).



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need not waste judicial resources and time on class certification issues that have already twice

been decided, and should strike Plaintiff’s Class Action Allegations.

         A.     Plaintiff alleges the same purported class as was alleged in Bishop and
                Adams, and the complaints are virtually identical.

         The three complaints in this case, Bishop, and Adams are filed by the same Plaintiffs’

counsel, and are cut and pasted from the same form complaint, with virtually identical classes,

claims, and theories. 4 Given the almost word-for-word identical nature of the complaints in the

three cases, this Court should follow the sound reasoning of the Middle District of Georgia,

discussed below, and strike Plaintiff’s Class Action Allegations in this case.

         B.     The Bishop and Adams Decisions

         In both Bishop and Adams, as in this case, Plaintiffs who had obtained single-premium

insurance through a defendant insurance company brought a purported class action to recover

refunds of unearned premiums after early loan payoff.

         In Bishop, this Court described the case as having a fundamental issue: “whether a class

can be certified consisting of persons who have never requested a refund.” Bishop, 255 F.R.D. at

621. The answer was a resounding “no,” with the Court concluding: “when an insured has not

requested a refund and Defendant is not aware that one is owed, each insured’s entitlement to a

refund will depend upon the individual circumstances of the insured’s case,” thus making

individual issues predominate over common ones and precluding class certification. Id. at 621-

22. The Court further recognized the fundamental problem with certifying such a class when the

event that triggers the need for a refund – the early payoff – “is not something that is within

Defendant’s control.” Id. at 623.



4
  Complaints in this case, Bishop and Adams are attached to the Submission as Exhibits 2, 3, and 4. A chart
comparing the identical language of the three complaints is attached to the Submission as Exhibit 5.



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         The Court concluded that class treatment was inappropriate because the “insurance

contracts are not uniform as to what triggers the duty to make the refund,” with some

contracts requiring the insured to notify the insurer that the loan had been paid off early and

others not requiring that notice, and that the contracts without notice provisions gave rise to the

question of whether an implied duty exists to make the refunds and the extent of that implied

duty. Id. at 624 (emphasis added). The Court further concluded that individual state law of the

fifty states in that nationwide class action would need to be reviewed to determine whether any

such implied duty existed. Id. at 625. The Court further stated that the issue of when a duty to

refund arises would possibly not be an obstacle to certification “if the individual insurance

contracts and/or each applicable state’s law” “answered [that] question[] in a uniform manner,

but they do not.” Id. (emphasis added). Thus, variations in the contracts and the applicable

state law ultimately defeated class certification.

         Three days after denying class certification in Bishop, the Middle District of Georgia

denied class certification in Adams, concluding that “the reasoning it employed in Bishop applies

with equal force [in Adams], that individual issues predominate over common issues, and that

class certification is therefore not appropriate [in Adams] under either Rule 23(b)(2) or Rule

23(b)(3).” Adams, 2009 WL 383625, at *4.

         Given the identical nature of the class sought, the theories pursued, and the claims made

in this case and in Bishop and Adams, the variation in LOTS’s contracts and in the applicable

state laws, see pp. 7-11, 12, 15-16, infra, this Court should reach the same conclusion as reached

in Bishop and Adams – class certification simply is not appropriate in this case -- and strike

Plaintiff’s Class Action Allegations.




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           C.       LOTS’s Insurance Certificates Have Significant Variations.

           This is not a “single form” contract case. LOTS’s insurance certificates, like those in

Bishop and Adams, vary between states, within states, and over time.

                    1.       Some Contracts Have Notice Provisions; Those Provisions Vary

           LOTS’s contracts, like the contracts of Protective and Monumental Life, vary as to

whether or not they have notice provisions and as to what those notice provisions say.

           Some of the contracts have express provisions in bold requiring the insured’s notice to

LOTS as a condition to triggering LOTS’s refund obligation:

           To receive a refund or credit of any unearned premium that may be due
           because of the early payoff of your loan, you must give us written notice.
           Notice must be mailed to us at 100 West Bay Street, Jacksonville, FL 32202,
           or to the agent that sold you this insurance. 5

           Some of the contracts with that notice provision have different language and also contain

the following additional language:                “We have the right to require proof of the date of

termination of the loan.” 6 Some states have contracts with this same notice provision, but not

in bold. 7

           Some contracts have a different notice provision:

           If you repay your debt before the scheduled termination of your loan, or if the
           loan terminates early for any reason, you must contact us to obtain a refund of
           unearned premiums on your Certificate. You will not receive a refund of
           unearned premiums if you fail to contact us. 8

           Some of the contracts include a notice provision in bold on the first page of the insurance

certificate, directly below the “Schedule of Insurance” box, placing the burden of notifying

LOTS of an early loan payoff on the Insured:

5
    See e.g., Submission, Exhibit 6 at 01362.
6
    See e.g., Submission, Exhibits 7 at 01635; 8 at 01337; 9 at 01367.
7
    See e.g., Submission, Exhibit 11 at 01329.
8
    See e.g., Submission, Exhibit 12 at 01708 (emphasis added).



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         NOTICE: . . . IT IS THE OBLIGATION OF THE INSURED TO NOTIFY
         THE INSURER OF ANY EARLY PAYOFF OF THE INDEBTEDNESS
         WHICH IS COVERED BY THIS INSURANCE. 9

         Some insurance certificates, however, even from the same states, do not have this

disclosure. 10 Some of them have this disclosure, but in addition to being capitalized, it is also

underlined. 11 Some, in addition to making this disclosure, further state: “IN THE EVENT OF

EARLY PAYOFF, REFER TO WHEN INSURANCE STOPS-REFUNDS ON PAGE 4 OF 4,”

which refers to yet another notice disclosure. 12 Some insurance certificates, even from the same

states, do not have either of the disclosures. 13

         Some contracts place the burden of providing notice to LOTS of an early termination of

the insurance (due to early payoff or otherwise) on the creditor. 14

         Some of LOTS’s insurance certificates simply state the following language regarding a

refund, without containing any of the afore-mentioned “notice” provisions:

         If your insurance stops before the end of the term of coverage shown in the
         Schedule, you will be given a refund or credit to your account of the unearned
         premiums. 15

                 2.       The Contracts Vary As To Who is Obligated to Make the Refund

         The contracts also vary as to who is contractually obligated to make the refund. Some

say LOTS. 16 Some say the Creditor. 17 Some say that LOTS will make the refund to the



9
  See e.g., Submission, Exhibits 13 at 01448; 14 at 01503; 15 at 01263.
10
   See e.g., Submission, Exhibits 16 at 01452; 17 at 01530.
11
   See e.g., Submission, Exhibit 18 at 01582; but see Submission, Exhibit 19 at 01608 (certificate with no disclosure
from the same state).
12
   See e.g., Submission, Exhibits 20 at 01359 and 01362; 21 at 01326 and 01329; 22 at 01418 and 01421; 23 at
01612 and 01615.
13
   See e.g., Submission, Exhibit 24 at 01605.
14
   See e.g., Submission, Exhibits 25 at 01384; 26 at 01541.
15
   See e.g., Submission, Exhibits 27 at 01333; 28 at 01309; 29 at 01388.
16
   See e.g., Submission, Exhibits 30 at 01284; 31 at 01615.
17
   See e.g., Submission, Exhibits 32 at 01288; 33 at 01262; 34 at 01265.



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Creditor, but then the Creditor must make the refund to the debtor/insured. 18 Some contracts say

that LOTS will make the refund to the Creditor, but then the Creditor must make the refund to

the debtor/insured “within 10 days” of the Creditor receiving the refund from LOTS. 19 Some

contracts suggest that either LOTS or the Creditor will make the refund. 20

                    3.       The Contracts Vary as To Whom the Refund Will Be Given

           Some contracts specifically state that the refund will not go to the debtor, but rather to the

creditor. 21 Others state the refund will go either to the debtor or the creditor to credit the

debtor’s account. 22 Still others state the refund will go to the debtor. 23

                    4.       Some Contracts Require the Refund be Made “Promptly” or Give A
                             Number of Days for the Refund to be Made.

           Some contracts state that the refund shall be made “promptly.” 24                      Others do not.25

Different states will interpret the word “promptly” in different ways, particularly given the

differing factual scenarios that could arise thereunder. 26 Some contracts require the refund to be

made within 30 days after notice is given of the early payoff. 27




18
     See e.g., Submission, Exhibits 35 at 10716; 36 at 01934.
19
     See e.g., Submission, Exhibits 37 at 01494; 38 at 02250.
20
  See e.g., Submission, Exhibit 39 at 01421 (“If your insurance stops . . . you will be given a refund or credit to your
account of the unearned premiums.”).
21
     See e.g., Submission, Exhibit 40.
22
     See e.g., Submission, Exhibits 41 at 01597; 42 at 01581.
23
     See e.g., Submission, Exhibits 31 at 01615; 43 at 01265.
24
     See e.g., Submission, Exhibits 31 at 01615; 25 at 01384; 44 at 01270.
25
     See e.g., Submission, Exhibits 6 at 01362; 45 at 01301.
26
  The Middle District of Georgia has specifically stated, in dismissing an unearned premium purported class action,
that usage of the word “promptly” in contracts creates many problems for class certification. See Holaway v.
Protective Life Ins. Co., 2007 WL 2904162, at *1 (M.D. Ga. Oct. 3, 2007).
27
     See e.g., Submission, Exhibit 31 at 01615.



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                    5.       The Contracts Vary as to the Formula for Calculating Refunds

           Frequently, each state’s credit insurance statutes mandate certain formulas to be used for

unearned premiums. 28 The statutory-based formula for the refund varies by state, causing the

contracts to vary widely as to these formulas.

                    6.       The Contracts Vary as to the Minimum Refund Amount

           Each state’s credit insurance statutes typically establish a minimum refund amount so that

if the calculated unearned premium is less than the specified amount, no refund is due to the

insured. Some LOTS’ contracts says that refunds under $10 will not be made; 29 for others that

minimum is $5; 30 still others $3; 31 still others $2, 32 and still others $1. 33

           In sum, LOTS’s insurance contracts vary not only as to whether a notice provision is

included and as to what that notice provisions says, but also as to who is obligated to make the

refund, to whom it will be paid, how the refund will be calculated; whether a refund below a

certain amount will be made; and whether it needs to be paid “promptly.”                             All of these

differences defeat class certification.

           D.       Just as in Bishop and Adams, Variations in the Contracts Support the
                    Dismissal of Plaintiff’s Class Action Allegations in this Case.

           Just as in Bishop and Adams, LOTS’s “insurance contracts are not uniform as to what

triggers the duty to make the refund. Some contracts require the insured to notify Defendant that

the insured has paid off the underlying loan early, thus terminating the insurance.” Bishop, 255

F.R.D. at 624. Plaintiff seeks to imply such a duty for the class members with contracts not

28
     See Submission, Exhibit 71.
29
     See e.g., Submission, Exhibits 6 at 01362; 46 at 01498; see generally Submission, Exhibit 72.
30
     See e.g., Submission, Exhibits 47 at 01464; 27 at 01333.
31
     See e.g., Submission, Exhibits 48 at 01451; 49 at 01502.
32
     See e.g., Submission, Exhibits 50 at 01325; 51 at 01421.
33
     See e.g., Submission, Exhibits 52 at 01597; 53 at 01902.



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containing notice provisions, but “implied duties must be substantially similar and uniformly

ascertainable. They are not.” Id. at 625. Plaintiff, as in Bishop and Adams, “would have this

Court imply a duty on Defendant to discover when the insured paid off his loan to a third party

early, and yet impose no duty upon the insured who, having paid off the loan early, is in the best

position to inform [LOTS] that his loan has terminated and thus he is entitled to a refund.” Id. at

626. The examination of such a duty requires an “individualized case by case analysis, one that

quite simply is not amenable to a uniform or formulaic application.” Id. “[W]hen an insured has

not requested a refund and [LOTS] is not aware that one is owed, each insured’s entitlement to a

refund will depend upon the individual circumstances of the insured’s case.                                    Therefore,

individual issues will predominate over common ones, making class certification inappropriate.”

Id. at 621-22.

         E.        Just as in Bishop and Adams, Variations in State Law Also Support the
                   Dismissal of Plaintiff’s Class Action Allegations in this Case.

         Perhaps the insurance contracts in this case (and in Bishop and Adams) are so varied

because the laws that govern them are so varied. “In determining whether common legal issues

predominate over individual ones, the Court must analyze whether the laws of different states

apply, and if they do, whether that law is uniform.” Bishop, 255 F.R.D. at 624. It is a plaintiff’s

burden to show uniformity among the laws of 50 states sufficient to allow class certification.

Id. 34




34
   The Eleventh Circuit recently emphasized that it is not only the plaintiff’s burden to show uniformity in state
laws, but that “in cases implicating the law of all fifty states, ‘[t]he party seeking certification . . . must . . . provide
an extensive analysis of state law variations to reveal whether these pose insuperable obstacles.’” Sacred Heart, 601
F.3d at 1180 (citations omitted); see also Klay v. Humana, Inc., 382 F.3d 1241, 1262 (11th Cir. 2004) (“[t]he burden
of showing uniformity or the existence of only a small number of applicable standards (that is, ‘groupability’)
among the laws of the fifty states rests squarely with the plaintiffs. . . . [A] plaintiff must prove through ‘extensive
analysis’ that there are no material variations among the laws of the states for which certification is sought.”)
(citation omitted).



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           Every State except Arizona requires insurance policies be construed as if relevant statutes

are included in their terms. 35 The state statutes governing credit insurance vary widely in how

they treat notice provisions, who they require to make the refund, formulas for calculating

refunds, and minimum refund amounts, among other differences. See pp. 15-16, infra. Such

wide variation dooms Plaintiff’s proposed class.              See Bishop, 255 F.R.D. at 624 (“[C]lass

certification is impossible where the fifty states truly establish a large number of different legal

standards governing a particular claim.” quoting Klay v. Humana, Inc., 382 F.3d 1241, 1250

(11th Cir. 2004) (“Klay”)).

III.       IN THE ALTERNATIVE TO THE MOTION TO STRIKE, A MOTION TO DENY
           CLASS CERTIFICATION IS AN APPROPRIATE PROCEDURAL VEHICLE
           FOR DETERMINING WHETHER A CIVIL ACTION MAY BE MAINTAINED
           AS A CLASS ACTION.

           Rule 23(c)(1)(A) of the Federal Rules of Civil Procedure provides that, “[a]t an early

practicable time after a person sues . . . as a class representative, the court must determine by

order whether to certify the action as a class action.”

           The Former Fifth Circuit has explained that, “[e]ither the plaintiff or the defendant may

move for a determination pursuant to Rule 23(c)(1).” Gore v. Turner, 563 F.2d 159, 165 (1977)

(citing United States v. U.S. Steel Corp., 520 F.2d 1043, 1052 (5th Cir. 1975)). 36 Other Circuit

Courts have affirmed district court orders granting defendants’ motions to deny class

certification. The Seventh Circuit has explained that, “[o]ne opposing a class action may move

for an order determining that the action may not be maintained as a class suit.” Cook County


35
     See Submission, Exhibit 68.
36
 Former Fifth Circuit decisions rendered before October 1, 1981 are binding precedent in the Eleventh Circuit.
Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc). See generally Mills v. Foremost Ins.
Co., 511 F.3d 1300, 1309 (11th Cir. 2008) (recognizing that in some instances “the propriety vel non of class
certification can be gleaned from the face of the pleadings” and that in other instances the district court should
“permit some discovery and/or an evidentiary hearing to determine whether a class may be certified.”); see also
Vega, 564 F.3d at 1260 (“the proposed class, as pled, is not amenable to Rule 23 certification”).



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Coll. Teachers Union v. Byrd, 456 F.2d 882, 885 (7th Cir. 1972) (“Cook County”) (affirming

district court's order granting defendant's motion to dismiss the purported class action), cert.

denied, 409 U.S. 848 (1972). Similarly, the Ninth Circuit recently affirmed the district court’s

order granting defendant’s motion to deny class certification “prior to the pretrial motion

deadline and discovery cutoff.” Vinole v. Countrywide Home Loans, Inc., 571 F.3d 935, 937

(9th Cir. 2009). The Ninth Circuit explained that “federal courts have repeatedly considered

defendants’ motions to deny class certification” and concluded that, “Rule 23 does not preclude a

defendant from bringing a ‘preemptive’ motion to deny certification.” Id. at 939-40. 37

         District courts within the Eleventh Circuit have considered and granted defendant’s

motions to deny class certification. Saunders v. Bell South Adver. & Publ’g Corp, 1998 WL

1051961, at *1, n.1 (S.D. Fla. Nov. 10, 1998) (“Saunders”) (granting defendant's motion to

dismiss class action and rejecting plaintiff's argument that defendant's motion was “procedurally

improper”). 38 “[D]istrict courts throughout the nation have considered defendants’ ‘preemptive’

motions to deny [class] certification.” Vinole, 571 F.3d at 940 (collecting cases). Federal district

courts have “[r]epeatedly . . . interpreted this Rule [23(c)(1)] to permit either party in a titular


37
   See also John v. Nat’l. Sec. Fire and Cas. Co., 501 F.3d 443, 445-45 (5th Cir. 2007) (affirming district court’s
order granting defendant’s motion to dismiss plaintiff’s class allegations in a breach of contract claim against an
insurance company); Strange v. Norfolk and W. Ry. Co., 809 F.2d 786, 1987 WL 31160, at *3 (4th Cir. 1987)
(unpublished) (affirming district court's order granting defendant's initial motion that a class action was
inappropriate, rejecting plaintiff's argument that such a ruling was “premature” because “he had not completed
discovery to determine whether there was a proper class”, and explaining that “[t]he court was not required to wait
until [plaintiff] sought class certification.”); 7B C. Wright, A. Miller & M. Kane, Federal Practice and Procedure §
1785, p. 89 (2d ed. 1986) (“Either plaintiff or defendant may move for a determination . . . under Rule 23(c)(1)”).
38
   In NAACP v. Cracker Barrel Old Country Store, Inc., Civil Action No. 4:01-CV-325-HLM (N.D. Ga.) (“Cracker
Barrel”), plaintiffs filed a purported class action. Defendant filed a Rule 23(c) motion for denial of class
certification. The magistrate judge issued a Report and Recommendation (“R&R”) that the defendant's motion for
denial of class certification should be granted. Cracker Barrel I, D.E. 61 (N.D. Ga. Aug. 16, 2002). The district
court adopted the R&R, rejected plaintiff’s argument that defendant’s motion was “premature” because “more
discovery is necessary before the court can determine whether class certification is appropriate”, and granted
defendant’s Rule 23(c) motion for denial of class certification. Cracker Barrel II, D.E. 113 at 59, 63 (N.D. Ga. Oct.
1, 2002). The Cracker Barrel I and Cracker Barrel II opinions are attached to the Submission as Exhibits 54 and
55, respectively.



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class action suit to move for a class determination.” Wilson v. Seven Seventeen HB Phila. Corp.

No. 2, 2001 WL 484193, at *2 (E.D. Pa. March 7, 2001) (granting defendant's motion to deny

class certification with prejudice). 39

         In the procedural context of a defendant's motion to deny class certification, a plaintiff

bears the burden of proving its right to maintain a class action. Cook County, 456 F.2d at 885

(“The burden was on the [plaintiff], the party seeking to utilize the class action, to establish its

right to do so. It was obliged in its complaint to allege facts bringing the action within the

appropriate requirements of the Rule”). 40

IV.      THERE ARE ADDITIONAL REASONS THAT CLASS CERTIFICATION
         SHOULD BE DENIED

         In addition to the reasons discussed in the Bishop and Adams decisions, there are many

other reasons that class certification should be denied in this civil action. Those additional

reasons were detailed in extensive briefing and submissions filed in the Bishop case. Rather than

replicating those arguments in this brief, LOTS respectfully attaches those Bishop filings to its




39
   See also Brown v. Milwaukee Spring Co., 82 F.R.D. 103, 104 (E.D. Wis. 1979) (“Brown”) (granting defendants’
motion to deny class certification and explaining that, “the defendants may test the propriety of the action by means
of a motion for denial of class certification”); In re Trans Union Corp. Privacy Litig., 211 F.R.D. 328, 334 n.9 (N.D.
Ill. 2002) (“Trans Union”) (granting defendant's motion that an action for statutory damages could not be
maintained as a class action and explaining that, “even before a plaintiff moves for class certification ‘a defendant
may test the propriety of the action by a motion for denial of class certification’”) (internal quotations and citations
omitted); Bell v. Lockheed Martin Corp., No. 08-6292 (RBK/AMD), 2011 WL 6256978, at *3, 9 (D.N.J. Dec. 14,
2011) (“Bell”) (granting defendant’s motion to dismiss plaintiff’s class allegations and rejecting plaintiff’s argument
that defendant’s motion was premature because plaintiff had not had “the ability to fully develop their claims
through discovery.”); Campbell v. A.C. Peterson Farms, Inc., 69 F.R.D. 457, 464-67 (D. Conn. 1975) (“Campbell”)
(granting defendant's motion to dismiss class action claim)
40
   See also Saunders, 1998 WL 1051961, at *1; Cracker Barrel II at 41; Bell, 2011 WL 6256978, at *4 (“even in a
motion to deny class certification, a Plaintiff bears the burden of providing prima facie evidence that the
requirements of Rule 23 are satisfied”); Brown, 82 F.R.D. at 104 (“plaintiff has the burden of establishing her right
to maintain a class action”); Trans Union, 211 F.R.D. at 347 n.9 (“The burden of establishing the propriety of a class
action remains with the plaintiff”); Campbell, 69 F.R.D. at 465 (“burden of proof rests on the plaintiff”); see also
nn.2, 34, supra.



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Submission and incorporates them by reference. 41 In this final section of this brief, LOTS

provides a cursory overview of those additional reasons that class certification must be denied.

           Two fundamental issues involving choice of law issues and individualized determinations

compel the denial of class certification because of Plaintiff’s failure to satisfy her burden of

proving predominance and superiority under Rule 23(b)(3) and the Rule 23(a)(2) commonality

and 23(a)(3) typicality requirements. 42

           A.       Applicable Substantive Law

           Based on binding precedent construing federal constitutional principles and Georgia’s

choice of law rules, this Court may not apply the substantive law of Georgia to the common law

claims (and related claims for prejudgment interest) by out-of-state purported class members

involving out-of-state transactions with the out-of-state defendant LOTS. 43 Credit life insurance

and credit disability insurance are heavily regulated at the state level by state governmental

agencies in each state. 44 There is a 50 state patchwork of state statutes and regulations governing

credit insurance, including notice provisions, requirements for lenders to make refunds to

customers/insureds of unearned credit insurance premiums upon an early loan payoff, formulas

for calculating refunds, and minimum refund amounts, as well as general state statutory

provisions dealing with prejudgment interest. 45 There are also significant state variations in the

common law principles underlying Plaintiff’s breach of contract claims and LOTS’s defenses. 46




41
     See Submission, Exhibits 56-79.
42
     See Submission, Exhibit 56 (pp. 70-79, 85-90).
43
     See Submission, Exhibits 56 (pp. 30-49), 62-65.
44
     See Submission, Exhibits 56 (pp. 41-46), 66-72.
45
     See Submission, Exhibits 56 (pp. 41-49), 66-72.
46
     See Submission, Exhibits 56 (pp. 46-55), 62-64, 73-79.



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Plaintiff alleges that the proposed class in this case includes hundreds of thousands of individuals

who live throughout the United States. 47

           In an unbroken line of authority, the Former Fifth Circuit and the Eleventh Circuit have

routinely rejected plaintiffs’ motions for certification of a nationwide class action based on

common law claims because of the complicated choice of law issues. 48 Based on federal

constitutional principles (and the case precedent interpreting those constitutional principles) and

Georgia’s choice of law rules, this Court must apply the laws of 50 states to the breach of

contract claims by out-of-state purported class members involving out-of-state transactions. 49

           B.       Individualized Inquiries

           In addition to the varying governing state laws, this Court would be required to conduct

an individualized insured-by-insured inquiry for the alleged “hundreds of thousands” class

members to determine whether a particular insured is a potential class member, whether LOTS




47
   Complaint for Damages (Pacer Doc. No. 1-2) (“Complaint”) ¶¶ 22, 26 (“The class is defined as all those
individuals during the time period (a) who are residents of the United States. . . Plaintiffs estimate the number of
class members is in the hundreds of thousands.”); Submission, Exhibit 2.
48
   See Submission, Exhibit 56 (pp. 18-22); Simon v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 482 F.2d 880, 882
(5th Cir. 1973); Kirkpatrick v. J.C. Bradford & Co., 827 F.2d 718, 725 (11th Cir. 1987), cert. denied, 485 U.S. 959
(1988); Andrews v. Am. Tel. & Tel. Co., 95 F.3d 1014, 1023-24 (11th Cir. 1996), abrogated on different grounds by
Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008) (“Andrews”); Sikes, 281 F.3d at 1352, 1367 n.44; Klay,
382 F.3d at 1246, 1261-67. Other Circuit Courts of Appeals and district courts within the Eleventh Circuit have also
routinely rejected certification of nationwide class actions based on common law claims. See Submission, Exhibits
56 (pp. 22-26), 62-64.
    State courts, which are not bound by Eleventh Circuit or United States Supreme Court precedent interpreting
Rule 23 of the Federal Rules of Civil Procedure, could, of course, reach a different result on the class certification
issue. Smith v. Bayer Corp., ___ U.S. ___, 131 S. Ct. 2368, 2379, 2382 (2011) (ruling that “[t]he issues in the
federal and state [purported class actions] differed because the relevant legal standards differed” and explaining that
“A federal court and a state court apply different law. That means they decide distinct questions. . . . Once removal
takes place, Federal Rule 23 governs certification.”); see, e.g., Resource Life Ins. Co. v. Buckner, 304 Ga. App. 719,
698 S.E. 2d 19 (2010) (“Resource Life”); J.M.I.C. Life Ins. Co. v. Toole, 280 Ga. App. 372, 634 S.E. 2d 123 (2006)
(“J.M.I.C.”). The Resource Life opinion did not cite a single Eleventh Circuit or United States Supreme Court
decision in its class certification analysis and the J.M.I.C. opinion cited only one for a non-determinative issue.
Although plaintiff cited the J.M.I.C. decision in support of its motion for class certification in Bishop (Bishop D.E.
228), this Court nevertheless denied class certification. Bishop, 255 F.R.D. at 627.
49
     See Submission, Exhibits 56 (pp. 30-56), 62-65.



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owes a refund to a particular insured, and the amount of any refund with any prejudgment

interest. 50

           It would be necessary to review the certificate and loan history of every single insured in

order to determine if a particular insured is a potential class member and might be entitled to a

refund and whether any of LOTS’s defenses would bar or limit recovery. 51 LOTS’s credit

insurance contracts vary significantly among accounts within states, between states, and over

time so it would be necessary to view the particular facts for each insured in light of the

contractual terms of the insured’s particular certificate and the applicable substantive law. 52 In

addition, in a large number of states, refunds are often made by lenders; thus, it would also be

necessary to determine whether each insured had already received a refund from the lender. 53

The amount of premium that is deemed “unearned” and thus the amount of refund also varies

according to state law, so there would also be the related individualized calculation on an

insured-by-insured basis of any refund amount (including any available prejudgment interest),

according to the laws of the 50 states. 54

           Those individualized inquiries would entail obtaining information about each insured not

just from LOTS, but from countless lenders scattered across the United States, about critical

issues, including whether a loan was paid off early and whether the lender had already made a

refund of unearned premiums. 55 The particular facts for each insured must be viewed in light of




50
     See Submission, Exhibit 56 (pp. 56-69).
51
     See Submission, Exhibit 56 (pp. 60-69).
52
     See Submission, Exhibit 56 (pp. 60-69); pp. 4-12, supra.
53
     See Submission, Exhibits 56 (p. 64), 58-61, 69.
54
     See Submission, Exhibits 56 (pp. 65-69), 66-72.
55
     See Submission, Exhibits 56 (p. 60-69), 58-61, 69.



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the contractual terms of the insured’s particular certificate and the applicable substantive law. 56

Those individualized insured-by-insured inquiries preclude certification of this purported class

action under a well-established line of Eleventh Circuit authority. 57

           C.       Recent Controlling Decisions Rejecting Class Certification

           Since this Court’s decisions in Bishop and Adams, there have been two recent Eleventh

Circuit decisions that reversed district courts for granting class certification as to a Rule 23(b)(3)

class and that fully support the dismissal of class action allegations in this case. Sacred Heart,

601 F.3d 1159; Vega, 564 F.3d 1256. In Sacred Heart, the Eleventh Circuit rejected a six-state

class action alleging breach of contract because there were at least 33 different contractual

variants. 601 F.3d at 1171, 1176 (explaining that “common questions rarely will predominate if

the relevant terms vary in substance among the contracts” and that “powerful variations in the

contractual terms alone are fatal to the class.”). Similarly here, there are massive variations in

LOTS’s contractual clauses related to unearned premium refunds; such variations are fatal to

class certification.

           The Eleventh Circuit also accepted defendant’s argument that extrinsic evidence would

be necessary as part of its defense to the breach of contract claims. 58 Aside from this being an

individualized inquiry, Sacred Heart recognizes the inherent difficulty in applying different state

56
     See Submission, Exhibits 56 (pp. 30-49, 56-69), 66-79; pp. 4-12, supra.
57
   See Submission, Exhibits 56 (pp. 56-59); Rutstein v. Avis Rent-A-Car Sys., Inc., 211 F.3d 1228, 1235-36 (11th
Cir. 2000); Jackson v. Motel 6 Multipurpose, Inc., 130 F.3d 999, 1006 (11th Cir. 1997); Andrews, 95 F.3d at 1023;
Sikes, 281 F.3d at 1366; Klay, 382 F.3d at 1255, 1264-67; see generally Kerr v. City of West Palm Beach, 875 F.2d
1546, 1558 (11th Cir. 1989) (class certification is inappropriate if the federal courts must assess “essentially unique
factual circumstances”).
58
   Sacred Heart, 601 F.3d at 1176-77 (“Even the most common of contractual questions – those arising, for
example, from the alleged breach of a form contract – do not guarantee predominance if individualized extrinsic
evidence bears heavily on the interpretation of the class members’ agreements.”). The Eleventh Circuit noted that
different states treat extrinsic evidence differently. Id. at 1177 (“A related difficulty inheres in the application of
multiple states’ laws to the extrinsic evidence.”), citing Bowers v. Jefferson Pilot Fin. Ins. Co., 219 F.R.D. 578, 583-
84 (E.D. Mich. 2004) (denying class certification because there was significant variation in the laws of the relevant
states with respect to the use of extrinsic evidence).



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laws on whether such extrinsic evidence can even be used in the first place. 59 The Eleventh

Circuit also found significant variations in the law applicable to defendant’s waiver defense to

plaintiff’s breach of contract claim even though the law of only six states was applicable. Id. at

1183. 60 Such variations in state law, along with the variations in the contracts, made the district

court’s certification of the class an abuse of discretion. Id.

           In Vega, the Eleventh Circuit reversed the district court’s certification of a Rule 23(b)(3)

single-state class on the basis that: (1) a breach of contract action could not be certified because

there was no common contract; and (2) an unjust enrichment claim could not be certified because

of the necessity with that claim for a court to examine the “individualized equities attendant to

each class member.”           Vega, 564 F.3d at 1272-74. 61           Given the wide variation in LOTS’s

contractual provisions and the state’s laws applied to them, as well as the necessity to delve into

each purported class member’s individual transactions and course of dealing with LOTS, this

Court should deny class certification based on the authority of Sacred Heart and Vega.

           A Rule 23(b)(2) class is also inappropriate because: (1) Plaintiff’s request for relief

relates exclusively or predominately to money damages, (2) Plaintiff’s claims for breach of

contract and prejudgment interest seek individualized relief rather than a group remedy, and (3)

Plaintiff’s breach of contract claim seeking compensatory damages may not be certified under




59
   In Bishop, this Court stressed the need to examine extrinsic evidence to determine whether an implied duty to
refund when no notice of early payoff has been received exists under the contract and various state laws, and if that
duty had been breached for each individual. See Bishop, 255 F.R.D. at 626 (“The nature and extent of this duty will
necessarily depend upon the specific language in the insurance contracts, the circumstances surrounding the
insurance transactions, and an individualized evaluation of whether implying such a duty is consistent with the
reasonable expectation of the parties.). See Submission, Exhibits 56 (pp. 52 -53), 76-78.
60
     LOTS’s Answer includes a waiver defense. D.E. 2, p. 2.
61
   The Eleventh Circuit held that, “courts, including ours, have found unjust enrichment claims inappropriate for
class action treatment.” Vega, 564 F.3d at 1274. The Complaint in this civil action includes an unjust enrichment
claim. Complaint ¶ 45(b); Submission, Exhibit 2.



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Rule 23(b)(2). 62 See Wal-Mart Stores, Inc. v. Dukes, ___ U.S. ___, 131 S. Ct. at 2557 (Rule

23(b)(2) “does not authorize class certification when each class member would be entitled to an

individualized award of monetary damages.”).

                                               CONCLUSION

           Defendant respectfully requests that this Court enter an Order striking or dismissing

Plaintiff’s Class Action Allegations. In the alternative, Defendant requests that this Court deny

class certification.

                                                 Respectfully submitted,

                                                 /s/ Lee E. Bains, Jr.
                                                 Lee E. Bains, Jr.
                                                 One of the attorneys for defendant, Life of the
                                                 South Insurance Company




62
     See Submission, Exhibit 56 (pp. 79-83).



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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of May, 2012, the foregoing Brief in Support of
Defendant’s Motion to Strike or Dismiss Plaintiff’s Class Action Allegations or, in the
Alternative, to Deny Class Certification has been filed with the Clerk of this Court and that the
Court’s electronic filing system will send notification of such filing to all counsel/parties of
record.


                                            /s/ Lee E. Bains, Jr.
                                            OF COUNSEL




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